MINUTE ENTRY
VITTER, J.
August 3, 2022
JS10, 0:45
                     UNITED STATES DISTRICT COURT

                     MIDDLE DISTRICT OF LOUISIANA

ABBY OWENS, ET AL.                                CIVIL ACTION

VERSUS                                            NO. 21-242-WBV-SDJ

LOUISIANA STATE UNIVERSITY, ET AL.


               TELEPHONE STATUS CONFERENCE REPORT
      On August 3, 2022, at the Court’s request, the Court held a Telephone Status

Conference in this matter.

      PRESENT:

            Catherine E. Lasky, Elizabeth K. Abdnour, Endya Hash, Karen
            Truszkowski
            Counsel for Plaintiffs, Abby Owens, Kennan Johnson, Samantha
            Brennan, Elisabeth Andries, Jade Lewis, Calise Richardson, Ashlyn
            Robertson, Corinn Hovis, Sarah Beth Kitch, Jane Doe, Other
            Unidentified Does

            Susan W. Furr, Molly C. McDiarmid
            Counsel for Defendant, Board Of Supervisors for Louisiana State
            University and Agricultural and Mechanical College

            Dennis J. Phayer
            Counsel for Defendant, Jennie Stewart

            Darren A. Patin
            Counsel for Defendant, Verge Ausberry

            John C. Walsh, Mary A. White, Jeffrey K. Cody
            Counsel for Defendant, Miriam Segar

            William F. Large
            Counsel for Defendants, Jonathan Sanders, and Mari Fuentes-Martin
      During the conference, the Court discussed with counsel the status of the case

and counsel’s failure to comply with the Court’s July 20, 2022 Order to submit to the

Court one joint, proposed amended scheduling order by August 2, 2022 (R. Doc. 245).

After a discussion with counsel, the Court issued an oral Order resetting the pre-

trial deadlines set forth in the Court’s Amended Scheduling Order (R. Doc. 234), as

amended (R. Doc. 238), beginning with the Plaintiffs’ expert report deadline. The

June 26, 2023 trial date and June 1, 2023 Final Pretrial Conference dates, however,

shall remain in effect. An amended scheduling order will issue containing the new

pre-trial deadlines.

      The Court also clarified that, as set forth in the August 2, 2022 Minute Entry

issued in Lewis v. Louisiana State University, et al., Civ. A. No. 21-198-SM-RLB (M.D.

La.), there shall be only one deposition of each deponent whose testimony may be

relevant in both actions, unless the judge in either action orders otherwise after a

motion is filed and good cause is shown. (See, R. Doc. 279 in the Lewis matter).

Additionally, the parties agreed to confer prior to taking any depositions in order to

determine: (1) the number of hours reasonably necessary for each deposition; and (2)

the manner in which depositions shall proceed. Only if the parties are unable to agree

on these issues, after conferring in good faith, shall the parties notify the Court prior

to the deposition by letter emailed to efile-Vitter@laed.uscourts.gov.

      New Orleans, Louisiana, August 4, 2022.



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                                         WENDY B. VITTER
                                         United States District Judge
